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                                                                      1   COHEN JOHNSON PARKER EDWARDS
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                                                                          RYAN D. JOHNSON, ESQ.
                                                                      4   Nevada Bar No.: 14724
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                                                                      5   Las Vegas, NV 89119
                                                                          Telephone: (702) 823-3500
                                                                      6   Facsimile: (702) 823-3400
                                                                      7   and

                                                                      8   Brennan, Recupero, Cascione, Scungio & McAllister, LLP
                                                                          Thomas S. Hemmendinger (RI #3122)
                                                                      9
                                                                          Lisa M. Kresge (RI #8707)
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                                                                          Providence, RI 02909
COHEN JOHNSON PARKER EDWARDS




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                                      Las Vegas, Nevada 89119




                                                                     14
                                                                          Attorneys for Expeditors International of Washington, Inc.
                                                                     15

                                                                     16
                                                                                                    UNITED STATES BANKRUPTCY COURT
                                                                     17
                                                                                                          FOR THE DISTRICT OF NEVADA
                                                                     18
                                                                          In re
                                                                     19                                                           Case No.: BK-S-18-14683-LEB
                                                                          GUMP’s HOLDINGS, LLC et al.                                       Chapter 11
                                                                     20
                                                                                                Debtors                             Jointly Administered with:
                                                                     21
                                                                                                                            No.: BK-S-14684 (In re Gump’s Corp.)
                                                                     22                                                 No.: BK-S-14685 (In Re Gump’s By Mail, Inc.)
                                                                           □ Affects this Debtor
                                                                     23    □ Affects all Debtors
                                                                                                                     Hearing Date: September 12, 2018
                                                                           □ Affects Gump’s Corp.                    Hearing Time: 10:00 a.m.
                                                                     24
                                                                           ■ Affects Gump’s by Mail, Inc.
                                                                     25
                                                                                                          CERTIFICATE OF SERVICE
                                                                     26
                                                                     27       1. On September 7, 2018, I served the following documents:

                                                                     28
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                                                                      1           NOTICE OF HEARING AND ORDER SHORTENING TIME TO HEAR
                                                                             MOTION BY EXPEDITORS INTERNATIONAL OF WASHINGTON, INC, FOR
                                                                      2     ADEQUATE PROTECTION AND FOR RELIEF FROM THE AUTOMATIC STAY
                                                                      3
                                                                             2. I served the above-named documents by the following means to the persons as listed below:
                                                                      4
                                                                                    a.     ECF System to the following:
                                                                      5
                                                                          SHAWN CHRISTIANSON on behalf of Creditor Oracle America, Inc.
                                                                      6   schristianson@buchalter.com, cmcintire@buchalter.com

                                                                      7   DONLIN, RECANO & COMPANY, INC. (lj)
                                                                          nefrecipients@donlinrecano.com, ecalderon@donlinrecano.com
                                                                      8
                                                                          SCOTT D. FINK on behalf of Creditor TOYOTA INDUSTRIES COMMERCIAL FINANCE,
                                                                      9
                                                                          INC.
                                                                     10   bronationalecf@weltman.com
COHEN JOHNSON PARKER EDWARDS




                                                                     11   STEVEN E FOX on behalf of Interested Party CONTRACTUAL JOINT VENTURE FORMED
                                                                          BY HILCO MERCHANT RESOURCES, LLC AND GORDON BROTHERS RETAIL
                                                                     12   PARTNERS, LLC
                                                                          sfox@riemerlaw.com, dromanik@riemerlaw.com
                               375 E. WARM SPRINGS RD., Ste. 104




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                                      Las Vegas, Nevada 89119




                                                                     14   GABRIELLE A. HAMM on behalf of Debtor GUMP'S BY MAIL, INC.
                                                                          ghamm@Gtg.legal, bknotices@gtg.legal
                                                                     15
                                                                          GABRIELLE A. HAMM on behalf of Debtor GUMP'S CORP.
                                                                     16   ghamm@Gtg.legal, bknotices@gtg.legal
                                                                     17
                                                                          GABRIELLE A. HAMM on behalf of Debtor GUMP'S HOLDINGS, LLC
                                                                     18   ghamm@Gtg.legal, bknotices@gtg.legal

                                                                     19   GABRIELLE A. HAMM on behalf of Jnt Admin Debtor GUMP'S BY MAIL, INC.
                                                                          ghamm@Gtg.legal, bknotices@gtg.legal
                                                                     20

                                                                     21   GABRIELLE A. HAMM on behalf of Jnt Admin Debtor GUMP'S CORP.
                                                                          ghamm@Gtg.legal, bknotices@gtg.legal
                                                                     22
                                                                          H STAN JOHNSON on behalf of Creditor EXPEDITORS INTERNATIONAL OF
                                                                     23   WASHINGTON, INC.
                                                                          sjohnson@cohenjohnson.com,
                                                                     24
                                                                          calendar@cohenjohnson.com;rjohnson@cohenjohnson.com;sgondek@cohenjohnson.com
                                                                     25
                                                                          BART K. LARSEN on behalf of Creditor STERLING BUSINESS CREDIT, LLC
                                                                     26   blarsen@klnevada.com,
                                                                          bankruptcy@klnevada.com;mbarnes@klnevada.com;blarsen@ecf.inforuptcy.com
                                                                     27
                                                                          BRYAN A. LINDSEY on behalf of Creditor Committee THE OFFICIAL COMMITTEE OF
                                                                     28
                                                                                                                   Page 2 of 4
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                                                                      1   UNSECURED CREDITORS
                                                                          bryan@nvfirm.com, schwartzecf@gmail.com
                                                                      2
                                                                          EDWARD M. MCDONALD on behalf of U.S. Trustee U.S. TRUSTEE - LV - 11
                                                                      3
                                                                          edward.m.mcdonald@usdoj.gov
                                                                      4
                                                                          JEANETTE E. MCPHERSON on behalf of Creditor SEAKER & SONS, A CALIFORNIA
                                                                      5   PARTNERSHIP
                                                                          bkfilings@s-mlaw.com
                                                                      6
                                                                          JEANETTE E. MCPHERSON on behalf of Interested Party SEAKER & SONS
                                                                      7
                                                                          bkfilings@s-mlaw.com
                                                                      8
                                                                          WILLIAM M. NOALL on behalf of Debtor GUMP'S BY MAIL, INC.
                                                                      9   bknotices@gtg.legal, wnoall@gtg.legal
                                                                     10   WILLIAM M. NOALL on behalf of Debtor GUMP'S CORP.
                                                                          bknotices@gtg.legal, wnoall@gtg.legal
COHEN JOHNSON PARKER EDWARDS




                                                                     11

                                                                     12   WILLIAM M. NOALL on behalf of Debtor GUMP'S HOLDINGS, LLC
                                                                          bknotices@gtg.legal, wnoall@gtg.legal
                               375 E. WARM SPRINGS RD., Ste. 104




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                                (702) 823-3500 FAX: (702) 823-3400




                                                                          WILLIAM M. NOALL on behalf of Jnt Admin Debtor GUMP'S BY MAIL, INC.
                                      Las Vegas, Nevada 89119




                                                                     14   bknotices@gtg.legal, wnoall@gtg.legal
                                                                     15
                                                                          WILLIAM M. NOALL on behalf of Jnt Admin Debtor GUMP'S CORP.
                                                                     16   bknotices@gtg.legal, wnoall@gtg.legal

                                                                     17   SAMUEL A. SCHWARTZ on behalf of Creditor Committee THE OFFICIAL COMMITTEE
                                                                          OF UNSECURED CREDITORS
                                                                     18   saschwartz@bhfs.com,
                                                                     19   ECF@bhfs.com;schwartzsr45599@notify.bestcase.com;sheacr80693@notify.bestcase.com

                                                                     20   JAMES PATRICK SHEA on behalf of Creditor STERLING BUSINESS CREDIT, LLC
                                                                          jshea@klnevada.com, mbarnes@klnevada.com;bankruptcy@klnevada.com
                                                                     21
                                                                          JEFFREY G. SLOANE on behalf of Creditor TOYOTA INDUSTRIES COMMERCIAL
                                                                     22
                                                                          FINANCE, INC.
                                                                     23   jeff@jsloanelaw.com;kristi@jsloanelaw.com

                                                                     24   MICHAEL ST. JAMES on behalf of Creditor SEAKER & SONS, A CALIFORNIA
                                                                          PARTNERSHIP
                                                                     25   Michael@stjames-law.com
                                                                     26
                                                                          MICHAEL ST. JAMES on behalf of Interested Party SEAKER & SONS
                                                                     27   Michael@stjames-law.com

                                                                     28   ELIZABETH E. STEPHENS on behalf of Interested Party CONTRACTUAL JOINT
                                                                                                              Page 3 of 4
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                                                                      1   VENTURE FORMED BY HILCO MERCHANT RESOURCES, LLC AND GORDON
                                                                          BROTHERS RETAIL PARTNERS, LLC
                                                                      2   rudolph@sullivanhill.com;hill@sullivanhill.com;millerick@sullivanhill.com;dabbieri@sullivanh
                                                                          ill.com;bkstaff@sullivanhill.com;stephens@ecf.courtdrive.com;Hawkins@sullivanhill.com
                                                                      3

                                                                      4   U.S. TRUSTEE - LV - 11
                                                                          USTPRegion17.lv.ecf@usdoj.gov
                                                                      5
                                                                          MARK M. WEISENMILLER on behalf of Debtor GUMP'S BY MAIL, INC.
                                                                      6   mweisenmiller@gtg.legal, bknotices@gtg.legal
                                                                      7
                                                                          MARK M. WEISENMILLER on behalf of Debtor GUMP'S CORP.
                                                                      8   mweisenmiller@gtg.legal, bknotices@gtg.legal

                                                                      9   MARK M. WEISENMILLER on behalf of Debtor GUMP'S HOLDINGS, LLC
                                                                          mweisenmiller@gtg.legal, bknotices@gtg.legal
                                                                     10
                                                                          MARK M. WEISENMILLER on behalf of Jnt Admin Debtor GUMP'S BY MAIL, INC.
COHEN JOHNSON PARKER EDWARDS




                                                                     11
                                                                          mweisenmiller@gtg.legal, bknotices@gtg.legal
                                                                     12
                                                                          MARK M. WEISENMILLER on behalf of Jnt Admin Debtor GUMP'S CORP.
                               375 E. WARM SPRINGS RD., Ste. 104




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                                (702) 823-3500 FAX: (702) 823-3400




                                                                          mweisenmiller@gtg.legal, bknotices@gtg.legal
                                      Las Vegas, Nevada 89119




                                                                     14

                                                                     15
                                                                                    b.      United States Mail, postage fully prepaid, to the attached Matrix
                                                                     16

                                                                     17
                                                                                 I declare under penalty of perjury that the foregoing is true and correct.
                                                                     18
                                                                                 Dated this 7th day of September, 2018.
                                                                     19
                                                                     20

                                                                     21                                ___________/s/ Sarah Gondek____________
                                                                                                      An employee of Cohen Johnson Parker Edwards
                                                                     22

                                                                     23

                                                                     24

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                                                                     27

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                                                                                                                      Page 4 of 4
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AARON HENRY
                                           ALLSTATE FLORAL & CRAFT, INC.          APF FBO PROFESSIONAL STAFFING CO. INC
MANAGING AGENT
                                           MANAGING AGENT                         MANAGING AGENT
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                                           14038 PARK PL                          PO BOX 823473
#1620
                                           CERRITOS CA 90703                      PHILADELPHIA PA 19182-3473
LOS ANGELES CA 90013




ASTOUND COMMERCE CORPORATION
                                           BARBARA HEINRICH STUDIO
MANAGING AGENT                                                                    BRIAN TSUNG
                                           MANAGING AGENT
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STE 425                                                                           SAN FRANCISCO CA 94112
                                           PITTSFORD NY 14534
SAN BRUNO CA 94066




BROWNSTEIN HYATT FARBER SCHRECK LLP        BUCCELLATI INC.
                                                                                  CALIFORNIA DEPT. OF TAX & FEE ADMIN.
SAMUEL A SCHWARTZ; BRYAN A                 MANAGING AGENT
                                                                                  ACCOUNT INFORMATION GROUP, MIC:29
LINDSEY;CONNOR H SHEA                      714 MADISON AVE
                                                                                  PO BOX 942879
100 NORTH CITY PARKWAY STE 1600            4TH FL
                                                                                  SACRAMENTO CA 94279-0029
LAS VEGAS NV 89106-4614                    NEW YORK NY 10065




CENTRAL NATIONAL GOTTESMAN INC.            CIT GROUP/COMMERCIAL SERVICES          CITY OF OLIVE BRANCH
MANAGING AGENT/JANE HARNESS                MANAGING AGENT                         MANAGING AGENT
3 MANHATTANVILLE RD                        ONE CIT DRIVE                          9200 PIGEON ROOST
PURCHASE NY 10577                          LIVINGSTON NJ 07039                    OLIVE BRANCH MS 38654




                                           CORPORATE PARTNERS II, LTD.            CUSHMAN & WAKEFIELD, INC.
COMCAST SPOTLIGHT
                                           ATTN: JONATHAN KAGAN                   RICH LEE
MANAGING AGENT
                                           45 ROCKEFELLER PLAZA                   425 MARKET ST
PO BOX 742637
                                           STE 2626                               STE 2300
LOS ANGELES CA 90074
                                           NEW YORK NY 10111                      SAN FRANCISCO CA 94105




DEACON & CO.
                                           DELAWARE DIV. OF REVENUE/BANKR. SVS.   DURLAND CO.
MANAGING AGENT
                                           ZILLAH A. FRAMPTION - BANKR. ADMIN.    MANAGING AGENT
5/F. TOWER 2
                                           CARVEL STATE OFFICE BUILDING           608 FIFTH AVE
SOUTH SEAS CENTRE, 75 MODY
                                           820 N. FRENCH ST 8TH FL                STE 407
KOWLOON HONG KONG 999077
                                           WILMINGTON DE 19801                    NEW YORK NY 10020
HONG KONG




EMPLOYMENT DEVELOPMENT DEPT.               EPSILON DATA MANAGEMENT, LLC           FEDEX CORPORATE SERVICES INC.
ATTN: MIC 53 800                           MANAGING AGENT                         MANAGING AGENT
CAPITOL MALL                               3788 MOMENTUM PL                       942 S SHADY GROVE RD
SACRAMENTO CA 95814                        CHICAGO IL 60689-5337                  MEMPHIS TN 38120




FRANCES LANE, LLC
                                           FRANCHISE TAX BOARD                    FURNITURE CLASSICS
LINDSAY JERNEGAN
                                           BANKRUPTCY SECTION, MS A340            MANAGING AGENT
22 DIGITAL DRIVE
                                           PO BOX 2952                            835 PHILPOTTS ROAD
STE F
                                           SACRAMENTO CA 95812-2952               NORFOLK VA 23513
NOVATO CA 94945




GARMAN TURNER GORDON LLP                   GEORG JENSEN INC.
                                                                                  GERARD ALAN SILVA
WILLIAM M. NOALL                           MANAGING AGENT
                                                                                  MANAGING AGENT
650 WHITE DRIVE                            580 BROADWAY
                                                                                  307 ADELAIDE HILLS CT
SUITE 100                                  STE 506
                                                                                  SAN RAMON CA 94583
LAS VEGAS NV 89119                         NEW YORK NY 10012




GORDON BROTHERS RETAIL PARTNERS, LLC       GRACE CHUANG INC
                                                                                  GUMP'S HOLDINGS, LLC ET AL.
ATTN: MACKENZIE SHEA                       MANAGING AGENT
                                                                                  ATTN: TONY LOPEZ
PRUDENTIAL TOWER                           261 WEST 35TH ST
                                                                                  135 POST STREET
800 BOYLSTON STREET                        802
                                                                                  SAN FRANCISCO CA 94108
BOSTON MA 02119                            NEW YORK NY 10001
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HILCO MERCHANT RESOURCES, LLC
                                            I-CENTRIX DBA RYAN PARTNERSHIP
ATTN: IAN S. FREDERICKS                                                           INTERNAL REVENUE SERVICE
                                            MANAGING AGENT
5 REVERE DRIVE                                                                    PO BOX 7346
                                            3100 EASTON SQUARE PL
SUITE 206                                                                         PHILADELPHIA PA 19101-7346
                                            COLUMBUS OH 43219
NORTHBROOK IL 60062




                                            LAW OFFICES OF JUDITH W ROSS
LALIQUE NORTH AMERICA, INC.                                                       LSC COMMUNICATIONS US, LLC
                                            JUDITH W ROSS
MANAGING AGENT                                                                    MANAGING AGENT
                                            700 NORTH PEARL ST
25 BRANCA RD                                                                      PO BOX 932987
                                            STE 1610
EAST RUTHERFORD NJ 07073                                                          CLEVELAND OH 44193
                                            DALLAS TX 75201




                                                                                  METRO INVESTMENT COMPANY
LSC COMMUNICATIONS, INC.                    MARIA YEE
                                                                                  C/O JONES LANG LASALLE AMERICAS, INC
MANAGING AGENT                              MANAGING AGENT
                                                                                  KIM HARDY, MANAGER
191 NORTH WACKER DRIVE                      1939 MONTEREY RD
                                                                                  6410 POPLAR AVE
STE 1400                                    STE 8
                                                                                  STE 350
CHICAGO IL 60606                            SAN JOSE CA 95112
                                                                                  MEMPHIS TN 38119




                                            MIEKO MINTZ LLC                       MISSISSIPPI DEPT. OF REVENUE
MICHAEL MOSCA
                                            MARK A. MINTZ, PRESIDENT              BANKRUPTCY SECTION
202 RIPLEY ST
                                            77 RIVER ST APT 1                     PO BOX 22808
SAN FRANCISCO CA 94110
                                            HOBOKEN NJ 07030-5613                 JACKSON MI 39225-2808




MOSS ADAMS LLP
                                            NAM HAI CO. LTD
MANAGING AGENT                                                                    NATURAL FASHION INC. DBA ANU
                                            AREA B, DONG CHIEU ZONE
LOCKBOX 101822                                                                    MANAGING AGENT
                                            TAN DONG HIEP WARD
2710 MEDIA CENTER DR                                                              25 JORDAN PLA # 1
                                            DI AN TOWN BINH DUONG
BLDG. 6, STE 120                                                                  CHICO CA 95973
                                            VIETNAM
LOS ANGELES CA 90065




NEVADA DEPT. OF TAXATION                                                          REGENCY INTERNATIONAL BUSINESS
                                            PETRA CLASS
BANKRUPTCY SECTION                                                                MANAGING AGENT
                                            MANAGING AGENT
555 E WASHINGTON AVE                                                              50 BROADWAY
                                            1072 ALABAMA ST
#1300                                                                             3RD FLOOR
                                            SAN FRANCISCO CA 94110
LAS VEGAS NV 89101                                                                NEW YORK NY 10004




RIEMER BRANSTEIN LLP
                                            RUSSELL TRUSSO FINE JEWELRY           SAN FRANCISCO TAX COLLECTOR
STEVEN FOX
                                            MANAGING AGENT                        MANAGING AGENT
SEVEN TIMES SQUARE
                                            PO BOX 616                            PO BOX 7427
STE 2506
                                            LAKEWOOD OH 44107-0616                SAN FRANCISCO CA 94120-7427
NEW YORK NY 10036




                                            SCHWAK USA, INC.
SANDBOX STUDIO
                                            C/O MATTHEWS INTERNATIONAL CORP.      SECRETARY OF STATE
MANAGING AGENT
                                            MANAGING AGENT                        STATE OF CALIFORNIA
3850 N 29TH TERRACE
                                            18211 NE 68TH STREET                  1500 11TH STREET
STE 107
                                            STE E # 120                           SACRAMENTO CA 95814
HOLLYWOOD FL 33020
                                            REDMOND WA 98502-8528




                                            SEKO WORLDWIDE, LLC                   SOCIAL SECURITY ADMINISTRATION
SEKO WORLDWIDE, LLC
                                            MANAGING AGENT                        OFFICE OF CHIEF COUNSEL, REGION IX
MANAGING AGENT
                                            1100 ARLINGTON HEIGHTS RD             160 SPEAR STREET
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                                            STE 600                               SUITE 800
CHICAGO IL 60694-1141
                                            ITASCA IL 60143                       SAN FRANCISCO CA 94105-1545




SOCIAL SECURITY ADMINISTRATION              STATE OF CALIFORNIA                   STERLING BUSINESS CREDIT LLC
OFFICE OF THE GEN. COUNSEL REG. IV          LABOR COMMISSIONER                    LAUREL VARNEY
61 FORSYTH ST SW                            1515 CLAY ST                          8401 N CENTRAL EXPRESSWAY
STE 20T45                                   ROOM 801                              STE 600
ATLANTA GA 30303                            OAKLAND CA 94612                      DALLAS TX 75225
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SULLIVAN HILL                                                                   UNITED STATES ATTORNEY'S OFFICE
                                           SUPPORT SERVICES GROUP (TEXAS)
ELIZABETH STEPHENS                                                              ATTN: CIVIL PROCESS CLERK
                                           MANAGING AGENT
228 SOUTH 4TH STREET                                                            333 LAS VEGAS BLVD SOUTH
                                           300 S 13TH ST
FIRST FLOOR                                                                     STE 5000
                                           WACO TX 76701
LAS VEGAS NV 89101                                                              LAS VEGAS NV 89101




UNITED STATES TRUSTEE                      VILAGALLO SA
                                                                                WINWARD INTERNATIONAL
EDWARD MCDONALD                            CALLE VELAZQUEZ 44
                                                                                MANAGING AGENT
300 LAS VEGAS BLVD SOUTH                   ENTRADA POR CL HERMOSILLA
                                                                                42760 ALBRAE ST
#4300                                      MADRID 27001
                                                                                FREMONT CA 94538
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